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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                             NO. 4:13CR00090-03-KGB

YUSTIN C. JORDAN, III                                                      DEFENDANT


                                        ORDER

       The Government has moved for revocation of Defendant Yustin C. Jordan’s

pretrial release for failure to follow conditions of release. (Docket entry #114) The

Clerk is directed to issue a summons, and the United States Marshal is directed to serve

the summons, upon Mr. Jordan requiring to appear at a revocation hearing before United

States Magistrate Judge Beth Deere on May 22, 2013, at 10:00 a.m. and to show cause

why his pretrial release should not be revoked.

       IT IS SO ORDERED this 15th day of May, 2013.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
